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                            EXHIBIT 2
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                                                                                                                                        Send a Release



 Bardy Diagnostics™ Announces
 Commercial Launch of the 14-
 Day Carnation Ambulatory
 Monitor (CAM) Patch
                                                                                                                         Share this article
 News provided by
 Bardy Diagnostics, Inc.
 Jan 23, 2020, 08:25 ET



 SEATTLE Jan. 23, 2020 /PRNewswire/ -- Bardy Diagnostics, Inc., ("BardyDx"), a leading provider of ambulatory cardiac monitoring
              ,



 technologies and custom data solutions, announced today the commercial launch of the 14-Day version of the Carnation Ambulatory
 Monitor ("CAM™"), the industry's only P-wave centric™ ambulatory cardiac patch monitor and arrhythmia detection device, following
 recent clearance by the FDA        .




 "The 14-Day CAM is the culmination of years of
 development focused on uncovering the full complexity
 and meaning of a patient's cardiac rhythm," said Gust
 H. Bardy, MD, Founder and Chief Executive Officer of
 BardyDx. "We are proud to develop and introduce the
 most advanced and accurate cardiac monitoring
 technologies that enable new opportunities to
 reimagine and redefine patient care."

 The significance of the CAM Patch's P-wave
 centric clinical value was highlighted in the American
 Heart Journal that published the results of a head-to-          BardyDx Carnation Ambulatory Monitor (CAM™) P-wave centric™ ambulatory cardiac patch monitoring and arrhythmia
                                                                                                                     -

                                                                 detection (PRNewsfoto/Bardy Diagnostics, Inc.)
 head comparison with the iRhythm Zio XT patch
                                            ®
                                                             ,



 concluding that the BardyDx CAM Patch identified 40%
 more arrhythmias and resulted in better, more informed clinical decision-making in 41% of patients over the iRhythm Zio XT patch. In
 addition, a preceding study also published in the American Heart Journal comparing the CAM Patch and a traditional Holter
 monitor showed a four times increase in arrhythmia detection using the CAM Patch, including arrhythmias missed or incorrectly
          ,



 identified using the Holter monitor, concluding that the CAM Patch offered significantly improved rhythm diagnostics.

 Strong market uptake of BardyDx's P-wave centric solutions has spurred recent expansion of the company's infrastructure to maintain
 its rapid pace. A second ECG monitoring center located in New Jersey was established last quarter, which received Medicare

 enrollment approval by the Centers for Medicare & Medicaid Services effective December 2 2019. In addition, BardyDx recently
                                                                                                               ,



 announced the addition of medical device industry veteran, Ed Vertatschitsch as Chief Operating Office along with several new
                                                                                                 ,                                ,
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 vice president appointments to strengthen the Leadership Team.


 "We are extremely proud of the continued momentum of the CAM Patch becoming the cardiac monitor of choice and trusted solution
 of cardiologists and electrophysiologists across the U.S., U.K., and Canada said Ken Nelson Chief Commercial Officer. "It is
                                                                            ,"                ,



 increasingly clear that customers are realizing the true clinical and market-differentiating value of our P-wave focused detection
 technology in enabling optimal patient care."

 The growing market recognition of the innovative P-wave centric CAM Patch includes recently being selected as winner of the
 Remote Monitoring in Arrhythmias Digital Health Pitch Session at European Society of Cardiology Congress 2019 and finalist of
 the UCSF Digital Health Award for Best Cardiovascular Digital Diagnostic In addition, BardyDx was also named the winner of the
                                                                                 .



 2019 MedTech Breakthrough Award for Best New Diagnostic Technology and the winner of the 2019 Frost & Sullivan Award for
 Technology Innovation in Remote Cardiac Monitoring     .




 About Bardy Diagnostics:

 Bardy Diagnostics, Inc. is an innovator in digital health and remote patient monitoring, with a focus on providing the most
 diagnostically-accurate and patient-friendly cardiac monitors to the industry. The company's CAM Patch is a non-invasive, P-wave
 centric™ ambulatory cardiac monitor and arrhythmia detection device that is designed to improve patient compliance for adults and
 children through its lifestyle-enabling form factor. Designed to be worn comfortably and discreetly for up to 14 days, the female-
 friendly, hourglass-shaped CAM Patch is placed on the center of the chest, directly over the heart for optimum ECG signal collection.
 The proprietary technology of the CAM Patch provides optimal detection and clear recording of the often difficult-to-detect P-wave,
 the signal of the ECG waveform that is essential for accurate arrhythmia diagnosis. For more information, please visit
 www.bardydx.com    .




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